                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ELLEN UMANSKY                                :
                                             :
       v.                                    :       CIVIL ACTION NO.: 2:17-cv-04712
                                             :
MELTON INTERNATIONAL                         :
TACKLE, et al.                               :

                                   AFFIDAVIT OF SERVICE

       I, Matthew B. Weisberg, Esquire, hereby certify that on September 21, 2018, a true and

correct a copy of this Honorable Court’s Order, dated September 11, 2018, scheduling an

Evidentiary Hearing for September 26, 2018, was served via Federal Express overnight mail

upon the following party:

                                    Melton International Tackle
                            1375 S. State College Blvd.
                                        Anaheim, CA 92806




                                                     WEISBERG LAW

                                                     // Matthew B. Weisberg
                                                     Matthew B. Weisberg, Esquire
                                                     Attorney for Plaintiff
